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             EXHIBIT L
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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


                                Civil Action No. 19-cv-11605-WGY
     _________________________________
     Gigi Kai Zi Chan,
                                   Plaintiff,
     v.
     Wellington Management Company LLP
     and Charles Argyle,
                                   Defendants.
     __________________________________




                    Deposition of Thomas Baxter
                      Friday, October 16, 2020
                           via Zoom Meeting
                         7:08 a.m. - 3:13 p.m.




                      ---- Sharon Roy, RPR ----
                         Magna Legal Services
                              866-624-6221
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 2
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13
14     Also present via Zoom Meeting:
15     Sara Martin
16
17
18
19
20
21
22
23
24
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 1   ----------------------------------------------------

 2                       P R O C E E D I N G S

 3                               7:08 a.m.

 4   ----------------------------------------------------

 5                      TOM BAXTER, Deponent,

 6                having first been duly sworn by the

 7                Notary Public, deposes and states as

 8                follows:

 9                                 * * * * *

10                           EXAMINATION CONDUCTED

11   BY MR. HANNON:

12           Q.      Good morning, Mr. Baxter.       My name is

13   Patrick Hannon.         I'm an attorney representing Gigi

14   Chan.        Have you ever had the pleasure of sitting for

15   a deposition before?

16           A.      This is my first.

17           Q.      Okay.    Just to kind of go over a little

18   bit of the process, since everything that you and I

19   say is being taken down by the stenographer, it's

20   important that we not speak at the same time.                 So if

21   you can try to do your best to make sure that I'm

22   done asking my question before you answer it, I'll

23   try to make sure you're done with your answer before

24   I ask my next question.         Sound good?
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                                                                   Page 5
 1         A.      Okay.

 2         Q.      For similar reasons, it's important that

 3   all of your answers be spoken.          So if at some point

 4   you shake your head or nod in response to a

 5   question, I'll just prompt you to speak your answer.

 6   Sound good?

 7         A.      Makes sense.

 8         Q.      Excellent.

 9                 MR. PATERNITI:     Patrick, before you

10          jump in, I don't remember that we did this

11          in the last deposition, but, you know, I

12          guess my proposal would be that the

13          stipulations that we agreed to with Gigi

14          Chan's deposition apply to all depositions,

15          that the standard, you know, all objections

16          except as to form reserved and motions to

17          strike reserved; read and sign, 30 days or

18          some other time frame that we agree to.

19                 MR. HANNON:     Agreed.

20                 MR. PATERNITI:     Excellent.

21   BY MR. HANNON:

22         Q.      Mr. Baxter, where are you physically

23   located today?

24         A.      I'm in London.
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                                                                   Page 45
 1   what we call, cover China for that team.

 2         Q.     Was that typical at Wellington?

 3         A.     Yes, it was typical for analysts on teams

 4   to have that sort of a hybrid responsibility where

 5   they're managing a portfolio but also contributing

 6   investment ideas to a team.

 7         Q.     And did I hear you correctly that you

 8   would regard a person who's filling that dual role

 9   as nonetheless being a portfolio manager?

10         A.     That's right.      My definition, if they

11   have sole discretion of investment and buying

12   (indiscernible) of a portfolio, then that makes them

13   a portfolio manager.

14         Q.     Do you know if at some point Ms. Meunier

15   was ever relieved of her responsibilities with

16   respect to providing analyst support to emerging

17   markets?

18         A.     I don't believe she was during the tenure

19   that I was the associate director of GEPM.

20         Q.     And prior to Ms. Meunier taking on

21   portfolio manager responsibilities, was there a

22   particular portfolio manager that she was supporting

23   as an analyst?

24         A.     So the lead portfolio manager for
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                                                                   Page 46
 1   emerging markets team was Vera Trojan.

 2         Q.     How do you spell the last name?

 3         A.     T-r-o-j-a-n.

 4         Q.     Who was involved in making the decision

 5   to give Ms. Meunier portfolio manager

 6   responsibilities?

 7         A.     There were multiple people involved in

 8   that decision:      Myself, Charles Argyle, Erin Murphy,

 9   Vera Trojan.

10         Q.     Anyone else you can think of?

11         A.     Those would have been the main

12   participants in that conversation.           But Christine

13   Scordato in HR potentially would have had an

14   opinion.

15         Q.     Had Ms. Meunier been running a paper

16   portfolio for some period of time?

17         A.     I don't know, I don't recall.

18         Q.     Do you recall generally how it came about

19   that Ms. Meunier was given portfolio manager

20   responsibilities?

21         A.     Again, generally speaking, her feedback

22   from her peers, her feedback from Vera and others on

23   the team, and steadily improving her -- portfolio

24   attribution was strong; that's the term we used to
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                                                                   Page 168
 1   pointed on some presentation skills issues that

 2   would have surfaced during that year.            I don't

 3   recall the exact messaging that I would have put in

 4   that review.

 5         Q.     With respect to soliciting targeted

 6   feedback, do you recall from whom you received

 7   targeted feedback in connection with Ms. Chan's 2015

 8   review?

 9         A.     No, I don't recall.

10         Q.     In conducting Ms. Chan's 2015 review,

11   would it be fair to say that you found her work

12   performance satisfactory that year?

13                MR. PATERNITI:      Objection.

14                If you remember, go ahead.

15         A.     Yeah, I don't recall the -- we wouldn't

16   use terms like "satisfactory," but was she on a

17   performance sort of, you know, watch.            At that

18   point, I don't believe so.

19         Q.     So you indicated you wouldn't use terms

20   like "satisfactory."       What kind of terms would you

21   use in terms of assessing an employee's overall

22   performance?

23         A.     It typically wouldn't be terms -- like I

24   say, in those days we didn't really score people on
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                                                                Page 169
 1   any kind of ranking or criteria.

 2         Q.      But you just used a phrase, I think, a

 3   moment ago, "performance watch."           What did you mean

 4   by that?

 5         A.      I'm trying to find the term.          It varied

 6   from time to time and wasn't consistently followed,

 7   but there's certainly -- you would occasionally have

 8   people that would be given a harsh message around

 9   their performance and there would be specific things

10   that they would be asked to prove.           So I would not

11   have had her in that category in 2015, I don't

12   believe.

13         Q.      Okay.    Let's turn to 2016.       What do you

14   recall about your review of Ms. Chan's performance

15   for that year?

16                 MR. PATERNITI:      Objection.

17         A.      The 2016 review was a joint review with

18   myself and Charles Argyll.

19         Q.      When you say it was a joint review, the

20   process that you described earlier in terms of

21   gathering data and all of that, was that jointly

22   performed by you and Mr. Argyle?

23         A.      In any year with every person there was

24   some level of joint review along those lines between
